                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )       No. 3:21-cr-00264-1
       v.                                            )
                                                     )       CHIEF JUDGE CRENSHAW
BRIAN KELSEY                                         )

           GOVERNMENT’S RESPONSE TO DEFENDANT KELSEY’S
     MOTIONS TO WITHDRAW GUILTY PLEA AND FILE MOTION TO DISMISS

       The United States of America, through Henry C. Leventis, United States Attorney for the

Middle District of Tennessee, Assistant United States Attorney Amanda J. Klopf, Corey R.

Amundson, Chief of the Public Integrity Section of the United States Department of Justice, Trial

Attorney John P. Taddei, Reagan Fondren, First Assistant United States Attorney for the Western

District of Tennessee, and Assistant United States Attorney David Pritchard (collectively,

“government”), hereby provides its response to defendant Brian Kelsey’s motions to withdraw his

guilty pleas and for leave to file a motion to dismiss all counts of the Indictment. DE 93 (“Mot.”).

       For the reasons that follow, the defendant’s motion to withdraw his guilty pleas should be

denied because he pleaded guilty knowingly and intelligently and has failed to demonstrate any

fair and just reason for withdrawal. Because this Court should deny the defendant’s request to

withdraw his pleas, his request for leave to file a motion to dismiss should be denied as moot.

                                  FACTUAL BACKGROUND

I.     The Defendant is an Attorney and Former State Legislator.

       The defendant is an attorney. DE 73 at 5 (plea agreement). He received a Juris Doctorate

degree from Georgetown University Law Center and a bachelor’s degree from the University of

North Carolina at Chapel Hill, where he graduated with honors. (Presentence Investigation Report

(“PSR”) ¶¶ 71-72.) The defendant was also a lawmaker for almost two decades, during which time




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he was involved in numerous aspects of criminal law and the criminal justice system. From

November 2004 through November 2022, the defendant served as an elected Member of the

Tennessee General Assembly. (PSR ¶ 75.) He was elected a Tennessee State Senator in 2009 and

became      chairman     of     the    Senate        Judiciary   Committee      in      2013.    See

https://www.capitol.tn.gov/senate/archives/109GA/members/s31.html;

https://www.capitol.tn.gov/senate/archives/109GA/Committees/judiciary.html           (last   accessed

April 14, 2023). During the defendant’s time in the General Assembly, he sponsored or co-

sponsored hundreds of pieces of legislation, including bills that specifically addressed criminal

process and collateral consequences for criminal convictions. (Ex. A (Summary of Bills Related

to Criminal Law or Justice Sponsored or Co-Sponsored by the Defendant)).

II.     Before Indictment, the Government Presents Kelsey with the Evidence and Likely
        Charges Against Him; Kelsey Rejects the Government’s Pre-Indictment Plea Offer.

        In May 2021, the government served the defendant’s attorney, Kory Langhofer, a letter

stating that the government had received information that the defendant may have engaged in

conduct that violated various federal laws including, but not limited to, making illegal coordinated

campaign expenditures; accepting excessive campaign contributions; directing, transferring, and

receiving prohibited “soft money” in connection with a federal election; and conspiracy. (Ex. B

(5/28/21 Target Ltr.)). A few days later, attorney Ty Howard informed the government that he

represented the defendant and that the defendant had received the letter. In early July 2021, Mr.

Howard informed the government that attorney David Warrington had joined him as co-counsel

representing Kelsey.

        In July and August 2021, the government, Mr. Howard, Mr. Warrington, and the defendant

engaged in extensive negotiations regarding a potential pre-indictment guilty plea. In mid-August

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2021, the government conducted a reverse proffer session with the defendant, Mr. Howard, and

Mr. Warrington, during which the government presented evidence of the defendant’s involvement

in illegal campaign contribution schemes related to his 2016 campaign for the U.S. House of

Representatives. The presentation included a description of potential charges based on the

defendant’s conduct, which included the offenses listed in the May 2021 letter. Following this

presentation, Mr. Howard informed the government that “Kelsey was interested in pursuing pre-

charging plea negotiations” and would “give prompt consideration to any offer [the government]

extend[ed].” (Ex. C (8/20/21 Howard Email)). During these negotiations, the government

consistently maintained that any pre-indictment resolution would require, at a minimum, the

defendant to plead guilty to a felony offense related to his campaign finance schemes. Ultimately,

the government offered Kelsey the opportunity to plead guilty to a one-count criminal information

charging conspiracy, in violation of 18 U.S.C. § 371.

         On September 3, 2021, Mr. Howard informed the government that the defendant would

not accept the government’s offer due, in part, to the defendant’s concern that a felony conviction

“will mean the loss of his livelihood and risk [of] significant incarceration.” (Ex. D (9/3/21 Howard

Ltr.)). In a follow-up letter, Mr. Howard outlined reasons for why, in his view, the government

should not charge Kelsey. (Ex. E (10/1/21 Howard Ltr.)). In that letter and during plea negotiations,

Mr. Howard and Mr. Warrington raised many of the same arguments that the defendant now raises

in his motion to withdraw his guilty pleas. See id. at 7-10.

III.     The Grand Jury Indicts the Defendant; the Defendant Hires New Counsel and
         Requests a Year-Long Continuance of the Trial Date.

         In October 2021, a grand jury returned a five-count Indictment charging Kelsey with

conspiracy to defraud the United States by obstructing the lawful functions of the Federal Election

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Commission (“FEC”) (also known as a Klein conspiracy), in violation of 18 U.S.C. § 371 (Count

1); aiding and abetting the solicitation, receipt, direction, transfer, and spending of $25,000 and

more of soft money in connection with a federal election, in violation of Title 52 U.S.C.

§§ 30125(e)(1)(A) and 30109(d)(1)(A)(i), and 18 U.S.C. § 2 (Count 2); aiding and abetting the

spending of $25,000 and more of soft money from a State officeholder in connection with a federal

election, in violation of 52 U.S.C. §§ 30125(f)(1), 30101(20)(A)(iii), and 30109(d)(1)(A)(i), and

18 U.S.C. § 2 (Count 3); aiding and abetting the making of excessive contributions, in violation of

52 U.S.C. §§ 30116(a)(1)(A), 30116(a)(7)(B)(i), and 30109(d)(1)(A)(i), and 18 U.S.C. § 2 (Count

4); and aiding and abetting the acceptance of excessive contributions, in violation of 52 U.S.C.

§§ 30116(a)(1)(A), 30116(a)(7)(B)(i), 30116(f), and 30109(d)(1)(A)(i), and 18 U.S.C. § 2 (Count

5). 1 DE 1. These offenses were identified in the government’s May 2021 letter and August 2021

reverse proffer and were discussed during the parties’ pre-indictment plea negotiations.

       The Court set the case for a jury trial on January 18, 2022. DE 25. Following the

defendant’s arraignment, attorneys Paul Bruno, David Rivera, and Jerry Martin entered

appearances on the defendant’s behalf and Mr. Howard withdrew from the case. ECF Nos. 23, 24.

Mr. Bruno is an experienced criminal defense attorney who recently completed a months-long trial

before this Court. See United States v. Frazier et al., No. 3:17-cr-00130 (M.D. Tenn.). Mr. Rivera

and Mr. Martin are experienced criminal litigators who each served as U.S. Attorney for the Middle

District of Tennessee from April 2013 through March 2017 and May 2010 through April 2013,

respectively. Following the retention of his new counsel, the defendant waived his right to a speedy



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         Joshua Smith was also charged in Counts 1-3 of the Indictment. In October 2022, Smith
pleaded guilty to Count 2. ECF No. 63. His sentencing hearing has been continued pending the
resolution of Kelsey’s instant motion to withdraw his pleas. ECF No. 96.
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trial and requested that his trial date be continued more than a year. See DE 33. The government

did not oppose, and trial was postponed until January 23, 2023. Id.

IV.     In Fall 2022, the Parties Reengage Plea Negotiations; After Several Weeks of
        Discussions, the Defendant Requests a Hearing to Change His Plea.

        On October 20, 2022, the government advised defense counsel that the defendant’s

deadline to enter an open plea, as set forth in the Court’s scheduling order, DE 37 at 2, was

approaching and asked whether the defendant was interested in a pre-trial resolution. Mr. Bruno

responded that he was speaking with the defendant that afternoon and would get back to the

government after that conversation. (Ex. F (10/20/22 Bruno Email)). On October 24, 2022, Mr.

Bruno informed the government that the defense team would like to meet with the government

that week to discuss the parameters of a possible plea agreement in this case.

        On October 25, the government met with counsel and offered the framework of a potential

plea. The primary condition was that the defendant plead guilty to two felonies: Count 1 (Klein

conspiracy) and at least one of the substantive offenses charged in Counts 2-5. Counsel asked

whether the government would consider omitting the standard condition that the defendant waive

his right to appeal his convictions. Counsel stated that the defendant had developed constitutional

and legal challenges to the Indictment and wanted to preserve the ability to raise them on appeal.

The government stated that any final plea agreement would need to include the standard appellate

waiver. The government requested that counsel inform the government by October 27 whether the

defendant was prepared to plead guilty to Count 1 and one of the additional Counts, upon which

time the parties would move forward with negotiating the finer details of an agreement.

        On October 27, counsel orally informed the government that the defendant had agreed in

principle to plead guilty to Counts 1 and 5 of the Indictment and requested that the government

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provide counsel with a draft plea agreement so the parties could continue negotiating the details.

The same day, the defendant filed a motion to set a change of plea hearing and stay the deadlines

in the Court’s scheduling order. DE 68. Over the next few weeks, the parties exchanged drafts of

the plea agreement as they negotiated the factual basis and Sentencing Guidelines stipulations. On

November 18—a month after the parties reengaged plea negotiations—the parties reached a final

consensus on the terms of the plea agreement. (Ex. G (Redacted 11/18/22 Klopf Email)). The Court

scheduled the defendant’s change of plea hearing for November 22, 2022, stayed all pretrial

deadlines, and cancelled the trial that had been scheduled for January 2023.

V.     Following an Extensive Rule 11 Colloquy, this Court Accepts the Defendant’s Guilty
       Pleas to Counts 1 and 5.

       On November 22, 2022, the defendant appeared before this Court and pleaded guilty to

Counts 1 and 5 of the Indictment. The Court conducted a detailed colloquy pursuant to Federal

Rule of Criminal Procedure 11 that mirrored the content of the written plea agreement and the

defendant’s plea petition. See ECF Nos. 72 (plea petition), 73 (plea agreement). The Court began

by addressing the elements of the offenses charged in Counts 1 and 5. DE 83 (11/22/22 Plea H’g

Tr. 6-8) (“Tr”). The defendant affirmed that he “had extensive discussions with [his] counsel about

each one of” the offenses and that he had no questions for the Court. Id.

       The Court informed the defendant that, under Rule 11(c)(1)(B), if the Court accepted his

plea, his “plea is forever” and that he “can’t come back tomorrow or next week or next year or any

time and decide I think I want a trial; I think my lawyers can do this, that or the other.” Id. The

Court reiterated that the defendant was “giving up forever [his] right to trial and all the attendant

things that [he] could do at trial.” Id. The defendant affirmed that was what he wanted. Id.

       Next, the Court guided the defendant through his written plea agreement, confirming that

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the defendant had read “each and every word” of the factual basis supporting his pleas, had

initialed each page, and confirmed that the information was true and correct. Id. at 8-10; see DE

73 at 4-9. The Court then addressed the sentencing process, reminding the defendant that the Court

had the ultimate discretion to determine the defendant’s sentence and that any estimate of his

punishment that his counsel had previously provided “won’t make any difference as to the plea

that that you’re offering me today. Your plea would still be effective.” Tr. 10-11. The defendant

again affirmed his desire to plead guilty. Id. at 11.

        The defendant affirmed he was not under the influence of drugs or alcohol and that there

was nothing unduly influencing or pressuring him to plead guilty. Id. at 15-16. The defendant

confirmed that, after consulting with his attorneys, he “made the final decision to enter a plea on

these two counts” because he “came to the firm and definite opinion that the best thing for Brian

Kelsey was to enter a plea.” Id. at 16-17.

        Having concluded all the requirements for a valid plea colloquy pursuant to Rule 11, the

Court gave the defendant several more opportunities to terminate the plea proceedings. Id. at 18-

19. The defendant repeatedly declined to do so and pleaded guilty to Counts 1 and 5 of the

Indictment. Id. The Court assessed that the defendant’s pleas were knowing, intelligent, and

voluntary, accepted them, and adjudged the defendant guilty on Counts 1 and 5. Id. at 19-20. The

Court reserved acceptance of the parties’ plea agreement pending sentencing. DE 73.

VI.     Months After Pleading Guilty, and After Receiving the PSR, the Defendant Has Mr.
        Warrington File a Motion to Withdraw his Pleas.

        The Court scheduled the defendant’s sentencing for March 28, 2023. DE 80. The Probation

Office issued the PSR to the parties on March 8, 2023. The PSR included additional information

about the defendant’s offenses and background and calculated an advisory Sentencing Guidelines

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range that tracked the estimates that had been included in the parties’ plea agreement. On March

14, Mr. Warrington—who had participated in pre-indictment plea negotiations alongside Mr.

Howard in summer 2021—entered an appearance on behalf of the defendant for the first time. DE

86. On March 16—less than two weeks before the scheduled sentencing date—Mr. Warrington

sent an email to the government stating that the defendant “intends to file a motion to withdraw

his plea and a motion to dismiss the charges against him.” (Ex. H (3/16/23 Warrington Email)).

Mr. Warrington did not copy the defendant’s preexisting counsel—Mr. Bruno, Mr. Rivera, and

Mr. Martin—on the email. The next day, March 17, Mr. Warrington filed motions to withdraw the

defendant’s guilty pleas and for leave to file a motion to dismiss all counts of the Indictment. DE

93. One hundred and fifteen (115) days had passed since the defendant entered his guilty pleas

before this Court on November 22, 2022.

       Mr. Bruno, Mr. Rivera, and Mr. Martin were not listed as counsel representing Mr. Kelsey

in the motion to withdraw. See DE 93 at 18. Mr. Bruno informed the government that Mr.

Warrington represents the defendant regarding the motion to withdraw and that Mr. Bruno, Mr.

Rivera, and Mr. Martin are not litigating the motion. Mr. Bruno stated that he, Mr. Rivera, and Mr.

Martin remain counsel to the defendant with respect to his sentencing proceedings, which have

been continued indefinitely pending resolution of the instant motion to withdraw, DE 96.

                                          ARGUMENT

I.     The Defendant Fails to Show Any Fair and Just Reason to Withdraw His Pleas.

       A defendant may withdraw a guilty plea “after the court accepts the plea, but before it

imposes sentence if . . . the defendant can show a fair and just reason for requesting the

withdrawal.” Fed. R. Crim. P. 11(d)(2)(B). “This rule is designed to allow a hastily entered plea

made with unsure heart and confused mind to be undone, not to allow a defendant to make a tactical
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decision to enter a plea, wait several weeks, and then obtain a withdrawal if he believes he made

a bad choice in pleading guilty.” United States v. Ellis, 470 F.3d 275, 280-81 (6th Cir. 2006)

(citations and internal quotation marks omitted). The Sixth Circuit “considers a number of factors

to determine whether [a] Defendant meets the burden of proving that the withdrawal of his guilty

plea is for a fair and just reason, including:

        (1) the amount of time that elapsed between the plea and the motion to withdraw it;
        (2) the presence (or absence) of a valid reason for the failure to move for withdrawal
        earlier in the proceedings; (3) whether the defendant has asserted or maintained his
        innocence; (4) the circumstances underlying the entry of the guilty plea; (5) the
        defendant's nature and background; (6) the degree to which the defendant has had
        prior experience with the criminal justice system; and (7) potential prejudice to the
        government if the motion to withdraw is granted.

Id. at 281 (quoting United States v. Bashara, 27 F.3d 1174, 1181 (6th Cir. 1994)). “The factors

listed are a general, non-exclusive list and no one factor is controlling.” Id. (citation and internal

quotation marks omitted).

        Citing out-of-circuit authority, the defendant claims that “[t]he ‘fair and just’ standard is

‘applied liberally,’ and a motion to withdraw filed prior to sentencing is to be ‘liberally

construed.’” Mot. 3 (citing United States v. Davis, 428 F.3d 802, 805 (9th Cir. 2005); United States

v. Buckles, 843 F.2d 469, 471 (11th Cir. 1988)). However, that is not the standard for a court-

accepted guilty plea within the Sixth Circuit. Rather, in this Circuit, “[a] defendant does not have

an absolute right to withdraw a guilty plea and bears the burden of proving that he is entitled to

withdraw his guilty plea.” Ellis, 470 F.2d at 280 (citations omitted). “When a defendant has entered

a knowing and voluntary plea of guilty at a hearing at which he acknowledged committing the

crime, the occasion for setting aside a guilty plea should seldom arise.” Id. (citation and internal

quotation marks omitted). That is because “[t]he withdrawal of a guilty plea is inherently in

derogation of the public interest in finality and the orderly administration of justice.” Id. (citation
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and internal quotation marks omitted).

       Properly considered, none of the Bashara factors support the defendant’s motion to

withdraw his pleas. The defendant is an attorney who graduated from an elite college and an elite

law school. He was an elected Tennessee State lawmaker for 18 years, sponsoring numerous pieces

of legislation related to the criminal justice system, and was even chairman of the Tennessee Senate

Judiciary Committee, through which legislation related to the criminal justice system passed. The

defendant decided to plead guilty to Counts 1 and 5 of the Indictment after his personal

participation in intricate plea negotiations that spanned years and while he was represented by

experienced criminal defense counsel, including two former U.S. Attorneys from this District.

Counts 1 and 5 charged federal campaign finance crimes—excessive contributions to the

defendant’s federal campaign in the form of illegal coordination of expenditures made by a

supposedly independent third-party organization (Count 5) and a Klein conspiracy to defraud and

obstruct the FEC (Count 1)—that the Sixth Circuit and U.S. Supreme Court have repeatedly

affirmed. After entering his pleas pursuant to a rigorous Rule 11 colloquy conducted by this Court,

the defendant waited 115 days before filing his motion to withdraw, less than two weeks before

his scheduled sentencing. His excuses for his delay and explanation for his claimed confusion

leading up to his plea—the birth of his children more than two months prior to his plea and his

father’s longstanding illness—are insufficient to support withdrawal. The defendant’s delay tactics

have prejudiced the government in a case that is based on conduct that occurred in 2016 and largely

relies on witnesses’ detailed memories.

       The defendant identifies no case in which a court has permitted a defendant so sophisticated

to withdraw a valid plea so late with so little justification. To permit the defendant to withdraw his


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plea now would create an unwarranted disparity with the overwhelming number of less

sophisticated defendants, often facing potential terms of imprisonment longer than the defendant

faces, who are routinely, and correctly, denied requests to withdraw pleas. The defendant’s motion

for withdrawal should likewise be denied.

       A.      115 days elapsed between the defendant’s pleas and his motion to withdraw.

       The length of time between the defendant’s pleas and his motion to withdraw, alone,

counsels in favor of denying his motion. The defendant filed his motion to withdraw on March 17,

2023, 115 days after he pleaded guilty on November 22, 2022. “The shorter the delay, the more

likely a motion to withdraw will be granted, and a defendant’s reasons for filing such a motion

will be more closely scrutinized when he has delayed his motion for a substantial length of time.”

United States v. Baez, 87 F.3d 805, 808 (6th Cir. 1996) (citation and internal quotation marks

omitted). The Sixth Circuit has identified a “30-day delay to be at the boundary line between what

is acceptable and what is not” and has “declined to allow plea withdrawal when intervening time

periods were as brief as one month.” United States v. Benton, 639 F.3d 723, 727 (6th Cir. 2011)

(citation and internal quotation marks omitted). The Sixth Circuit has heavily weighed delays

against defendants that were substantially shorter than the 115 days at issue here. See, e.g., United

States v. Valdez, 362 F.3d 903, 912 (6th Cir. 2004) (“unjustified 75-day delay, alone, supported

the court’s denial of a motion to withdraw”); United States v. Durham, 178 F.3d 796, 798-99 (6th

Cir. 1999) ( holding that “[t]he strongest factor” supporting denial was the defendant “waited

approximately seventy-seven days to file his motion”); United States v. Smith, 46 F. App’x 247,

249 (6th Cir. 2002) (unpublished) (finding 113-day delay “excessive”).

       The defendant cites two cases (Mot. 6) in which district courts granted requests for


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withdrawal despite delays of four and eight months between a plea and the filing of the motion.

Both cases are readily distinguishable from the defendant’s circumstances.

        First, in United States v. Maxwell, a police officer searched the defendant’s car, finding

guns and narcotics, after claiming to see drugs in plain view through the car’s tinted windows. DE

167 at 1-2, No. 3:19-cr-00208 (M.D. Tenn.) (filed Apr. 8, 2022). After the defendant’s motion to

suppress the evidence was denied, the defendant pleaded guilty to narcotics and firearms offenses.

Id. Eight months later, the defendant filed a motion to withdraw his guilty pleas based on newly

discovered evidence that showed the tint of the vehicle’s windows was so dark that it would have

been impossible for an officer to see through it, and newly discovered evidence of disciplinary

action against the testifying officer that further called his credibility into question. Id. at 4-5. The

district court permitted the defendant to withdraw his pleas and ordered a new suppression hearing

because “the defendant’s explanation for the delay and the availability of new evidence together

weigh[ed] strongly in favor of granting the motion.” Id. at 8.

        In United States v. Hall, the defendant pleaded guilty to illegal possession of a firearm by

a convicted felon. DE 46 at 4, 1:15-cr-00055 (N.D. Iowa) (filed Mar. 24, 2016). During the district

court’s Rule 11 colloquy, the court mistakenly failed to advise the defendant that, under the Armed

Career Criminal Act (“ACCA”), his conviction might result in a mandatory minimum sentence of

15 years of imprisonment and a potential maximum of life depending on his criminal history, and

instead incorrectly advised him that the maximum possible term was ten years. Id. at 5-8. Four

months after the defendant’s guilty plea, and a month after the defendant’s PSR identified earlier

felony convictions that would trigger the 15-year mandatory minimum at sentencing, the defendant

moved to withdraw his plea. Id. at 7-8. The district court ruled that the earlier Rule 11 violation


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created a fair and just reason for withdrawal and that the four-month delay was excusable because

the severity of the error did not become apparent until the PSR identified the defendant’s previous

ACCA-eligible convictions. Id. at 13-16.

       Neither of these cases support the defendant’s request that this Court permit him to

withdraw his pleas now. Unlike the defendant in Maxwell, Kelsey’s request to withdraw his plea

is not based on newly discovered evidence that directly bears on the validity of his convictions.

Rather, as described below, the defendant asserts “legal innocence” based on misrepresentations

of his convictions and the evidence supporting them and by relying on irrelevant legal arguments

that were available to the defendant long before he decided to plead guilty. Hall is equally

inapposite because Kelsey does not allege any error with respect to his Rule 11 colloquy or his

advisement of the maximum possible terms of imprisonment he faces.

       For these reasons, the first Bashara factor weighs heavily against the defendant.

       B.      The longstanding illness of defendant’s father is not a valid reason for the
               defendant’s failure to move for withdrawal earlier.

       The defendant claims he “has a valid reason for not moving to withdraw his plea sooner:

he moved to withdraw the plea as early as practicable after his father’s death.” Mot. 14. Although

the defendant’s father’s long illness warrants sympathy, it is not a valid reason for failing to move

for withdrawal earlier. As described above, dating back to summer 2021, Messrs. Howard and

Warrington repeatedly raised the specter of marshaling specific legal and constitutional challenges

to any Indictment that included the offenses referenced in the government’s May 2021 target letter

and August 2021 reverse proffer. During the October 2022 negotiations, Mr. Rivera specifically

requested a carveout to the plea agreement that would permit the defendant to raise those

arguments on appeal even after he entered his plea. The defendant ultimately accepted the

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government’s rejection of that request as a condition of his plea agreement.

       These exchanges show that the arguments contained in the defendant’s motion are not

newly developed and that he had an opportunity to raise them before he pleaded guilty. The

authority the defendant cites (Mot. 7-10) existed for years before the defendant entered his plea

and, in any event, is irrelevant to the two counts to which he pleaded guilty, as further described

below. Cf. United States v. Triplett, 828 F.2d 1195, 1197-98 (6th Cir. 1987) (rejecting defendant’s

claim that a newly developed defense supported his withdrawal because the “defense was available

to him the day he entered his plea and [defendant] does not set forth an adequate reason for failing

to assert this defense at an earlier time”). As the Sixth Circuit has explained, Rule 11(d)(2)(B) does

not “allow a defendant to make a tactical decision to enter a plea, wait several weeks, and then

obtain a withdrawal if he believes he made a bad choice in pleading guilty.” Ellis, 470 F.3d at 280-

81. That is exactly what the defendant is attempting to do here. The defendant does not present a

valid reason for his 115-day delay, and therefore the second Bashara factor weighs against him.

       C.      The defendant has not consistently maintained innocence; he raises irrelevant
               legal arguments that plainly misrepresent the nature of his convictions.

       The defendant states that “[b]efore entering into this plea agreement, [he] consistently

maintained his innocence.” Mot. 11. He cites his own public statements about this case and

presentations his attorneys made to the government. Mot. 11-13. These actions do not support

withdrawal under the third Bashara factor.

       The defendant stood before this Court and, under oath, pleaded guilty to two felony

offenses after repeatedly swearing that the facts contained in his plea agreement were true and

supported his convictions. The defendant does not directly dispute any of those facts in his motion.

Instead, as addressed below, he misrepresents the nature of his convictions and raises irrelevant

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legal arguments while claiming that he now “maintains his legal innocence.” Mot. 7. The Sixth

Circuit has consistently held that, where a defendant has pleaded guilty and presented technical

challenges to his Indictment, but otherwise does not maintain his factual innocence, his “assertions

fall well short of ‘vigorous and repeated protestations of innocence’ [that Sixth Circuit] caselaw

requires to support a motion to withdraw a guilty plea.” United States v. Watkins, 815 F. App’x

22, 25 (6th Cir. 2020) (unpublished) (quoting Baez, 87 F.3d at 809).

       Although not strictly related to the third Bashara factor, the defendant also repeatedly

claims that that he should be permitted to withdraw his pleas because he “pleaded guilty to offenses

that are not actually crimes.” Mot. 7; see id. at 3-4, 6, 10-13. His arguments are based on

misrepresentations of Counts 1 and 5 and the undisputed facts he admitted in his plea agreement.

       With respect to Count 5, the defendant incorrectly claims that the “government’s theory”

was that he “‘coordinated’ communications allegedly paid for by his state committee to benefit his

federal campaign.” Id. at 7. Likewise, the defendant’s motion to dismiss incorrectly states that

“Count Five assert[ed] that Kelsey ‘made’ ‘excessive contributions’ from ‘Political Organization

1 [his state committee] to Federal Committee 1’ [his federal congressional campaign] and accepted

those contributions by ‘coordinating’ certain communications paid for by his state campaign

committee.” DE 93-1 at 4 (emphasis added). That is incorrect.

       “Political Organization 1” was not the defendant’s State campaign committee. The

Indictment and plea agreement clearly identified the defendant’s State campaign committee as

“State Committee 1.” DE 1 at 1; DE 73 at 5. They separately described Political Organization 1 as

“a nonprofit corporation” that “registered with the [FEC] as a person or organization making

independent expenditures.” DE 1 at 2; see DE 73 at 5. Political Organization 1 “hosted an annual


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political conference, published ratings on Members of Congress and State politicians, and issued

political endorsements.” Id. The Indictment and plea agreement also identified several Political

Organization 1 officers, including Individual 1, its Director of Government Affairs and the

defendant’s future wife. DE 1 at 2; DE 73 at 6.

       Likewise, contrary to the defendant’s claim, Count 5 did not charge the defendant with

coordinating with his “own state campaign committee,” Mot. 7. Rather, Count 5 charged the

defendant with illegally “accepting and receiving contributions made by Political Organization 1

to Federal Committee 1 in the form of [$25,000 and more of] coordinated expenditures by Political

Organization 1 for advertisements supporting KELSEY’S election.” DE 1 at 12 (emphasis added).

The defendant’s plea agreement identified $80,000 worth of expenditures on radio and digital

advertisements that Political Organization 1 made to support the defendant’s primary election. DE

73 at 8-9. The agreement stipulated that the defendant willfully and illegally coordinated those

expenditures with Political Organization 1 through his agents and caused Political Organization 1

to file false reports with the FEC on three separate occasions. Id.

       The defendant’s legal argument supporting his supposed “innocence” is not supported by

the actual record. He argues that “federal candidates cannot [illegally] coordinate with their state

committees as a matter of law.” Mot. 9. Again, that argument is irrelevant to the defendant’s

conviction under Count 5, which charged him with secretly and illegally coordinating $80,000 of

expenditures with a nonprofit corporation that spent the money on advertisements to support the

defendant’s campaign, not with his State campaign committee.

       Courts have repeatedly and consistently affirmed the validity of the illegal coordinated

contributions offense contained in Count 5. For the 2016 federal election cycle, the Election Act


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(“FECA”) provided that “no person shall make contributions . . . to any candidate and his

authorized political committees with respect to any election for Federal office which, in the

aggregate, exceed [$2,700].” 52 U.S.C. § 30116(a)(1)(A). FECA also provides that “[n]o candidate

or political committee shall knowingly accept any contribution . . . in violation of the provisions

of this section.” 52 U.S.C. 30116(f). “Contribution” is defined as “any gift, subscription, loan,

advance, or deposit of money or anything of value made by any person for the purpose of

influencing any election for Federal office.” 52 U.S.C. § 30101(8)(A).

       “[C]ampaign-finance law treats as ‘contributions’ not only direct donations to a political

candidate, but also most expenditures ‘made by any person in cooperation, consultation, or concert,

with, or at the request or suggestion of’ that candidate,” his committee, or agents thereof.

Campaign Legal Center v. FEC, 507 F. Supp. 3d 79, 81 (D.D.C 2020), rev’d on other grounds, 31

F.4th 781 (D.C. Cir. 2022). “By definition, these so-called ‘coordinated expenditures’ are in-

kind—viz., not actual cash—contributions to the candidate.” Id. An “expenditure” is defined as

“any purchase, payment, distribution, loan, advance, deposit, or gift of money or anything of value,

made by any person for the purpose of influencing any election for Federal office.” 52 U.S.C.

§ 30101(9)(A). Anyone who makes an excessive contribution in an aggregate amount of $25,000

or more to a candidate, including in the form of coordinated expenditures, commits a felony

punishable by up to five years in prison. 52 U.S.C. § 30101(d)(1)(D)(i).

       The Supreme Court has repeatedly affirmed these provisions and indicated that the

“longstanding” language of the statute itself—“in cooperation, consultation, or concert, with, or at

the request or suggestion of”—“‘delineates its reach in words of common understanding’” and

serves as the touchstone for liability. McConnell v. FEC, 540 U.S. 93, 222 (2003) (citation


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omitted), overruled on other grounds by Citizens United v. FEC, 558 U.S. 310 (2010). The Court

further explained that “expenditures made after a ‘wink or nod’ often will be as useful to the

candidate as cash. For that reason, Congress has always treated expenditures made ‘at the request

or suggestion of’ a candidate as coordinated.” Id. at 221 (internal citations and quotation marks

omitted); see also Buckley v. Valeo, 424 U.S. 1, 46-47 & n.53 (1976) (examining legislative

history). In rejecting a vagueness challenge to the coordination language, the Supreme Court held

that, “FECA’s definition of coordination gives ‘fair notice to those to whom it is directed.’”

McConnell, 540 U.S. at 223 (quoting American Comm. Assn. v. Douds, 339 U.S. 382, 412 (1950)).

       The defendant’s plea agreement makes clear that he was convicted of conduct that falls

within the core of what the Supreme Court has stated constitutes illegal coordinated expenditures.

The defendant admitted that he arranged the movement of $91,000 to Political Committee 1 and

that he, through his agents, then coordinated Political Committee 1’s expenditures of that money

on radio and digital advertisements, which Political Organization 1 falsely claimed it was making

independently to support the defendant’s 2016 primary election. DE 73 at 8-9.

       The Sixth Circuit recently affirmed comparable convictions where two defendants were

found guilty of causing illegal corporate contributions to a U.S. Senate campaign, in violation of

52 U.S.C. § 30118. See United States v. Lundergan, 5:18-cr-106 (E.D. Ky.), aff’d by United States

v. Emmons, 8 F.4th 454, 479 (6th Cir. 2021), cert. denied 142 S. Ct. 2676 (2022). In Emmons, the

Sixth Circuit affirmed the well-established legal proposition that coordinated expenditures

constitute contributions to a federal campaign. See Emmons, 8 F.4th at 464, 471-73. The Fifth

Circuit also recently affirmed convictions in a case in which a former U.S. Congressman was

convicted of making excessive contributions to his own campaign by coordinating expenditures


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with a purportedly independent organization that was supporting the Congressman’s campaign.

United States v. Stockman, 4:17-cr-116 (S.D. Tex.), aff’d 947 F.3d 253, 260-62 & nn.5, 7 (5th Cir.

2020), cert. denied 141 S. Ct. 369 (2020). These decisions further underscore the soundness of the

defendant’s Count 5 conviction.

       The defendant cites several FEC advisory opinions, issued a decade or more ago, that

suggest “a federal candidate cannot ‘coordinate’ with his or her own state campaign committee for

purposes of Federal campaign finance law.” Mot. 7-10. Again, the sworn facts underlying Kelsey’s

Count 5 conviction do not implicate these opinions because Kelsey coordinated with Political

Organization 1 on expenditures that Political Organization 1 made to benefit the defendant’s

federal campaign. There are no allegations in the Indictment or plea agreement that the defendant

coordinated expenditures with his State campaign committee. The fact that some of the money that

Political Organization 1 spent can be traced back to the defendant’s State committee accounts is

irrelevant for purposes of Count 5. In any event, some of the money that Kelsey caused to be

transferred to Political Organization 1 did not come from the defendant’s State committee. Rather,

Kelsey caused Political Organization 2, another nonprofit corporation, to transfer $25,000 to

Political Organization 1—funds that Political Organization 1 used to support its pro-Kelsey

expenditures. DE 73 at 8. That amount would be sufficient in and of itself to support the

defendant’s felony conviction. 52 U.S.C. § 30101(d)(1)(D)(i).

       The defendant’s challenge to his Klein conspiracy conviction under Count 1 also fails, most

clearly because his motion incorrectly identifies the type of conspiracy to which he pleaded guilty.

The defendant claims that “Count One fails because there can be no conspiracy if there is no

underlying crime.” Mot. 10; see DE 93-1 at 18 (“a person cannot conspire to commit a crime


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against the United States which the facts reveal there could be no violation of the statute under

which the conspiracy is charged” (citation and internal quotation marks omitted)). However, the

defendant was not charged in Count 1 with a conspiracy to commit the offense identified in Count

5. Section 371 establishes a felony offense “[i]f two or more persons conspire either to commit

any offense against the United States, or to defraud the United States, or any agency thereof in

any manner or for any purpose.” 18 U.S.C. § 371 (emphasis added). Thus, there are two ways to

prove a violation of § 371: (1) the “offense” prong; and (2) the “defraud” prong, also known as a

Klein conspiracy.

       As the Indictment and plea agreement show, the defendant pleaded guilty to a Klein

conspiracy, which does not turn on the validity of his conviction under Count 5. Count 1 clearly

charged the defendant with a conspiracy “to defraud the United States for the purpose of impeding,

impairing, obstructing, and defeating the law functions of the Federal Election Commission in the

administration and enforcement of the Election Act.” DE 1 at 5. The plea agreement detailed

multiple layers of false statements and obstruction that the defendant and others conspired to

impose upon the FEC with the goal of supporting the defendant’s 2016 congressional campaign.

DE 73 at 4-9. As the Court found during the defendant’s change of plea hearing, those facts were

more than sufficient to support the defendant’s conviction under Count 1. The validity of Count 1

is independent of the validity of Count 5, and, in any event, Count 5 remains fully valid.

       The defendant’s claims that he is legally innocent of the counts to which he pleaded guilty

are meritless. Therefore, the third Bashara factor weighs against him.

       D.      The defendant pleaded guilty after years of plea negotiations and after this
               Court conducted a rigorous Rule 11 colloquy.

       The defendant states that he “entered into this plea agreement hastily and with an unsure

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heart due in large part to the stress of simultaneously dealing with a terminally ill father, newborn

twins, and a three-year-old daughter.” Mot. 13. The Sixth Circuit has rejected arguments based on

more extreme personal circumstances, crediting instead statements like those Kelsey made during

his Rule 11 colloquy that his plea was voluntary, intelligent, and not taken under duress.

       In Watkins, the Sixth Circuit rejected a defendant’s claim that “the stresses associated with

being in solitary confinement while awaiting trial ‘force[d him] to take a plea [he] did not want to

take’” because “his statements to the district court [during the Rule 11 colloquy] reflect the

opposite.” 815 F. App’x at 25. The court of appeals stated that “[a]bsent extraordinary

circumstances, when the Rule 11 procedures are ‘fully adequate,’ we hold a defendant pleading

guilty to the statements he makes at his plea hearing.” Id. (citing Baker v. United States, 781 F.2d

85, 90 (6th Cir. 1986)). Kelsey does not allege any defect in his Rule 11 procedures, during which

he affirmed there was nothing and no one unduly influencing or pressuring him to plead guilty. Tr.

15-16. The defendant confirmed that, after consulting with his attorneys, he “made the final

decision to enter a plea on these two counts” because he “came to the firm and definite opinion

that the best thing for Brian Kelsey was to enter a plea.” Id. at 16-17. There is no reason for this

Court to set aside the defendant’s sworn statements, much less an extraordinary circumstance.

       The defendant also falsely claims that he “was given less than 48 hours to make a decision

on his plea agreement.” Mot. 13. The record clearly shows that the defendant decided to plead

guilty to Counts 1 and 5 of the Indictment after his personal participation in intricate plea

negotiations that spanned years and while he was represented by experienced criminal defense

counsel, including two former U.S. Attorneys from this District. See pp. 2-6, supra. Even if this

Court were to only consider the portion of negotiations immediately preceding the defendant’s


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plea, the record shows that those negotiations commenced on October 20, 2022, and did not

conclude until a month later, on November 18. Even then, during the plea hearing, this Court

presented the defendant with multiple opportunities to withdraw from the plea process and proceed

to trial. See pp. 6-8, supra. The defendant repeatedly declined. In any event, when a court makes

“every effort to guarantee that [a defendant] adequately considered his options and that he entered

into the plea bargaining agreement voluntarily and knowingly,” a defendant may not later claim

the time was insufficient. Triplett, 828 F.2d at 1197; see United States v. Pluta, 144 F.3d 968, 974

(6th Cir. 1998) (rejecting defendant’s “excuse of not having enough time to go over the plea

agreement” considering the defendant, “his attorney, and the government engaged in substantial

discussions concerning the structure of a possible plea agreement” that “continued over a period

of nearly a year and a half”). The same applies here.

       For these reasons, the fourth Bashara factor weighs against the defendant.

       E.      The defendant is highly sophisticated.

       The defendant does not specifically address the fifth Bashara factor evaluating his nature

and background, instead focusing entirely on a separate factor that considers the defendant’s prior

experience with the criminal justice system. The defendant cannot dispute that, as a college and

law school graduate, constitutional attorney, and former legislator, he is among the most

sophisticated class of defendants that could appear before this Court. See Ellis, 470 F.3d at 285

(finding this factor weighed against defendant because he was “highly educated and sophisticated”

and “understood what he was doing when he entered the guilty plea”).

       Under this factor, courts consider whether there is anything in a defendant’s “nature and

background that would prevent him from understanding to what he was pleading.” United States


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v. Martin, 668 F.3d 787, 796-97 (6th Cir. 2012). Courts routinely deny requests for withdrawal

from defendants with high school educations based on findings, for example, that the defendant

was “a very capable reader and writer” and appeared to be “lucid, competent, and attentive.”

Watkins, 815 F. App’x at 26. By comparison, there is no indication that the defendant did not

understand his plea. Therefore, the fifth Bashara factor weighs against him.

        F.      As an attorney and former State legislator, the defendant has substantial
                experience with criminal law and the criminal justice system.

        The defendant states that his “inexperience with the criminal justice system contributed to

the plea agreement.” Mot. 15. That claim is meritless.

        The defendant was an attorney and a member of the Tennessee General Assembly for 18

years. During that time, he sponsored or co-sponsored hundreds of pieces of legislation, including

bills that specifically addressed criminal process and collateral consequences for criminal

convictions. See Ex. A. He became chairman of the Senate Judiciary Committee in 2013, through

which many bills and rules related to the criminal justice system passed. Id. The defendant’s

experience as a lawyer and legislator “clearly indicates that [he] was not a naive stranger to the

criminal proceedings in which he was involved.” Pluta, 144 F.3d at 974.

        The defendant complains that he “did not adequately consider the ancillary consequences

of his plea,” including a private bank’s alleged decision to cancel his credit card and a potential

loss of his Tennessee government pension. Mot. 15-17. These consequences of the defendant’s

plea—allegedly imposed by private and non-federal government actors—do not implicate the

validity of the defendant’s plea or the Rule 11 process. A district court is not required “to anticipate

and negate defendants’ beliefs about the sentence.” United States v. Carson, 32 F.4th 615, 623

(6th Cir. 2022). Instead, Rule 11 requires that “defendants be held to their plea agreements so long

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as the court ‘scrupulously follow[s] the required procedure.’” Id. (quoting Ramos v. Rogers, 170

F.3d 560, 566 (6th Cir. 1999)). Here, this Court “conducted a proper, clear, and thorough plea

colloquy” that met all the requirements set forth in Rule 11. Id. (citation and internal quotation

marks omitted). The defendant does not allege otherwise. Therefore, the defendant’s complaints

that he did not consider every possible extra-judicial consequence that might stem from his plea

do not support his motion to withdraw.

       For these reasons, the sixth Bashara factor weighs against the defendant.

       G.      After more than a year of trial delays caused by the defendant, the
               government’s case would be prejudiced if the pleas were withdrawn.

       The government does not need to establish prejudice, nor does the Court need to consider

it, “unless and until the defendant advances and establishes a fair and just reason for allowing the

withdrawal.” United States v. Spencer, 836 F.2d 236, 240 (6th Cir. 1987). For the reasons described

above, the defendant has failed to advance any fair and just reason for allowing withdrawal, and

therefore the Court need not consider this factor. Nonetheless, the defendant’s delay tactics have

prejudiced the government’s case. Following arraignment, the defendant requested a year-long

continuance of the original trial date. Trial was then scheduled to commence in January 2023

before the defendant’s November 2022 plea resulted in its cancellation. Three more months have

passed beyond that date, with further proceedings suspended indefinitely until the resolution of the

defendant’s instant motion.

       As the Indictment states, the conduct relevant to this case spanned in or around February

2016 through in or around October 2016. DE 1 at 5. The scheme included an intricate series of

interactions between the defendant and other coconspirators to move money to Political

Organization 1. Id. at 9. Then, it included another intricate series of interactions whereby the

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defendant and his agents coordinated Political Organization 1’s expenditures for the benefit of the

defendant’s campaign. Id. Much of the evidence and testimony at trial would rely on witnesses’

memories of specific, detailed events that occurred seven years ago. The Sixth Circuit has held

that comparable circumstances support a finding of prejudice to the government. See Watkins, 815

F. App’x at 26 (weighing this factor against the defendant because “memories fade” and “[t]here

is an extremely high risk that necessary witnesses may no longer be available now that [four] years

have passed since the criminal activities occurred”).

         For these reasons, none of the Bashara factors support the defendant. His motion to

withdraw his guilty pleas should be denied.

II.      The Defendant’s Request to File a Motion to Dismiss the Indictment Is Moot.

         The defendant asks the Court’s permission to file a motion to dismiss all five counts in the

Indictment. Mot. 3; see DE 93-1 (proposed motion). The defendant’s request is predicated upon

the Court first granting his motion to withdraw his pleas. Mot. 3, 18. For the reasons set forth in

Part I, supra, the Court should deny the defendant’s motion to withdraw. As a result, the Court

should also deny his request for permission to file a motion to dismiss as moot. 2

                                                CONCLUSION

         The defendant’s motion to withdraw his guilty pleas and motion for leave to file a motion

to dismiss should be denied.




2
  In the alternative, if the Court were to grant the defendant’s motion to withdraw and permit him to file the motion
to dismiss the Indictment, the government would ask the Court for leave to file a response to the defendant’s motion
to dismiss.
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      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing response was electronically filed with

the Clerk on April 14, 2023, and service was made upon all persons registered in that case via

CM/ECF and/or by email.


                                                             /s/ Amanda J. Klopf_________
                                                             AMANDA J. KLOPF
                                                             Trial Attorney




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